Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 1 of 26




                EXHIBIT F
     Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 2 of 26




                 AMERICAN ARBITRATION ASSOCIATION


OSRAM SYLVANIA, INC.,

             Claimant,

v.

PHOTOGRAPHIC ILLUSTRATORS
CORPORATION,

             Respondent/Counter/Claimant
             And Third-Party Claimant,     Case No. 01-16-0000-2652

v.

BROOK ELECTRICAL SUPPLY
COMPANY; CAPITAL LIGHTING &
SUPPLY, LLC d/b/a CAPITALTRISTATE;
FACILITY SOLUTIONS GROUP, INC.;
FROST ELECTRIC SUPPLY CO. d/b/a
FROSTELECTRIC.COM; STUART C. IRBY
COMPANY d/b/a IRBY.COM;
McNAUGHTON-McKAY ELECTRIC CO.;
And TRADE SERVICE CO., LLC,

             Third-Party Respondents.


           PHOTOGRAPHIC ILLUSTRATORS CORPORATION’S
       APPLICATION FOR AWARD OF ATTORNEYS’ FEES AND COSTS
           Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 3 of 26




                                                   TABLE OF CONTENTS

INTRODUCTION AND SUMMARY ........................................................................................... 1

DISCUSSION ................................................................................................................................. 2

I.        PIC is entitled to $4,232,714.33 in attorneys’ fees for prevailing on the parties’
          contract claims. ................................................................................................................... 2

                A.         Under Massachusetts law, the contingent-fee agreement between PIC
                           and its counsel controls the award of fees against OSI, so long as the
                           fee is not unreasonable. ..................................................................................... 2

                B.         PIC’s contingent-fee agreement obligates PIC to pay 30 percent of all
                           “Litigation Proceeds”—including any award of costs and fees—less
                           certain “Litigation Expenses.” .......................................................................... 5

                C.         The contingent fee that PIC agreed to pay is reasonable, and so should
                           be shifted in full to OSI under the 2006 License Agreement. .......................... 9

                D.         The reasonableness of the contingent fee is confirmed by comparing
                           the factors courts use in hourly-fee cases. ...................................................... 11

II.       PIC is entitled to an award of $2,108,316.46 in costs incurred in the arbitration............. 17

CONCLUSION ............................................................................................................................. 21




                                                                      ii
        Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 4 of 26




                             INTRODUCTION AND SUMMARY

       In January 2016, Osram Sylvania, Inc. (“OSI”) initiated this arbitration by filing a

Demand for Arbitration against Photographic Illustrators Corporation (“PIC”). In April 2016,

OSI answered and counterclaimed. On November 20, 2017, the arbitrator rendered a Partial Final

Award (the “Award”). The arbitrator dismissed each of OSI’s claims and awarded PIC

$9,591,049.99 on its breach-of-contract counterclaims. Award at 86-87. The contract in issue is a

license agreement by which PIC granted OSI a license to use certain photographs in which PIC

holds the copyrights. See Ex. J-002 (the “2006 License Agreement”). As the arbitrator notes,

“under ¶ 39 of the 2006 License Agreement, PIC is entitled to recover its reasonable attorneys’

fees and costs incurred in bringing its breach-of-contract claims.” Award at 85. PIC also is

entitled to recover its fees and costs incurred in defending against “OSI’s claims that PIC

breached the implied covenant of good faith and fair dealing as to the 2006 License Agreement,

and for a declaratory judgment regarding the parties’ rights under the agreement.” Id. “[T]he

contract makes an award of fees mandatory.” Id. The only remaining question with respect to

attorneys’ fees and costs, then, is in what amount they should be awarded.

       The proper amount of the attorneys’ fees depends on the interplay of two contracts: (1)

the 2006 License Agreement between PIC and OSI; and (2) the contingent-fee agreement

between PIC and its counsel, McKool Smith. That is because, under Massachusetts law, when

the basis for fee shifting is a contract between the parties, “the question of what fees are owed ‘is

ultimately one of contract interpretation’ and our primary obligation is simply to honor the

agreement struck by the parties.” See AccuSoft Corp. v. Palo, 237 F.3d 31, 61 (1st Cir. 2001)

(quoting MIF Realty L.P. v. Fineberg, 989 F.Supp. 400, 402 (D. Mass. 1998)). Massachusetts

courts have interpreted fee-shifting provisions like paragraph 39 of the 2006 License Agreement

as contracts for indemnity, requiring the losing party to reimburse whatever fee the prevailing


                                                 1
        Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 5 of 26




party actually incurs in the case, including a contingent fee, provided that fee is reasonable. See

Northern Heel Corp. v. Compo Indus., Inc., 851 F.2d 456, 475-76 (1st Cir. 1988); Winthrop

Corp. v. Lowenthal, 558 N.E.2d 1138, 1141 (Mass. Ct. App. 1990). The 30-percent contingent

fee that PIC agreed to pay its counsel is undeniably reasonable under the circumstances.

Therefore, PIC seeks reimbursement of the actual contingent fee that PIC owes McKool Smith.

       Likewise, under Massachusetts law, the proper amount of costs is a matter of contract

and, again, involves simply shifting PIC’s actual costs to OSI provided the costs were

reasonable. See, e.g., WHTR Real Estate Ltd. P’ship v. Venture Distr., Inc., 825 N.E.2d 105, 111-

12 (Mass. App. Ct. 2005). Under a cost-shifting provision like paragraph 39 of the 2006 License

Agreement, an award of costs should not be limited to costs that would be “taxable” under Fed.

R. Civ. P. 54(d), but should encompass all reasonable costs. See Best Buy Stores v. Developers

Diversified Realty Corp., No. 05-2310 (DSD/JJG), 2011 WL 1321391, at *10-11 (D. Minn. Feb.

1, 2011) (applying Massachusetts law). As all costs incurred by PIC, including consultant and

expert-witness fees, were reasonable for this large, complex matter, all such costs should be

borne by OSI pursuant to paragraph 39 of the 2006 License Agreement.

                                         DISCUSSION

I.     PIC IS ENTITLED TO $4,232,714.33 IN ATTORNEYS’ FEES FOR PREVAILING
       ON THE PARTIES’ CONTRACT CLAIMS.

       A.      Under Massachusetts law, the contingent-fee agreement between PIC and its
               counsel controls the award of fees against OSI, so long as the fee is not
               unreasonable.

       Given the fee-shifting provision set forth in the 2006 License Agreement, Massachusetts

law mandates that OSI reimburse PIC for its actual attorneys’ fees, so long as that amount is not

unreasonable. See Northern Heel, 851 F.2d at 475-76; Winthrop, 558 N.E.2d at 1141. In

Northern Heel, the court explained that “[w]here the contract for employment of counsel

provides a clear and workable formula for determining the amount of fees, the terms of the

                                                2
        Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 6 of 26




agreement will usually control” a contractual fee-shifting award. See 851 F.2d at 475. Moreover,

said the court, when the prevailing party agreed to pay its counsel a contingent fee, the

contingent fee should provide the basis for a fee award “unless it is unreasonable under the

circumstances.” Id. The court explained that, “[i]n Massachusetts, when a fee award is sought

pursuant to a provision of a pact between the lawyer’s actual client and the client’s litigation

adversary, the agreement between the parties resembles a contract of indemnity and

contemplates that the prevailing party will be reimbursed for his attorney’s fees.” Id. (internal

quotation marks omitted).

       Similarly, a Massachusetts court vacated an arbitral fee award under a contractual fee-

shifting provision because the arbitrator calculated it using the lodestar method rather than

looking to the prevailing party’s one-third contingent-fee agreement. See Winthrop, 558 N.E.2d

at 1141 & n.6. The parties’ contract provided that, “in the event that any action or proceeding is

brought in connection with the Agreement, the prevailing party therein shall be entitled to

recover its costs and reasonable attorney’s fees.” Id. at 1139 (brackets and internal quotation

marks omitted). Lowenthal, the prevailing party, submitted a fee application based on his

counsel’s “normal time charges,” which totaled $33,881, but did not disclose the contingent-fee

agreement. Id. The arbitrator awarded $35,400 in fees and costs. Id.

       The superior court confirmed the award, and over a year after the judgment had been

entered, Winthrop moved to vacate the judgment for fraud based upon Lowenthal’s failure to

disclose the contingent fee agreement. Id. at 1140. The damages awarded were $17,200, and one

third of that amount would have yielded a fee of $5,733 if calculated under the contingent-fee

agreement as opposed to the $33,881 lodestar. Id. at 1139. The court ultimately vacated the fee

award that had been calculated under the lodestar method and ordered it recalculated in

accordance with the one-third contingent-fee contract. Id. at 1143.

                                                3
        Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 7 of 26




       The court viewed the proper fee calculation as, in the first instance, a matter of

interpreting the fee-shifting provision in the parties’ contract. Id. at 1141; accord AccuSoft Corp.,

237 F.3d at 61. And in light of the provision’s language and purpose, the court concluded that the

parties intended for the fee award to cover the prevailing party’s actual obligation to its counsel,

“provided that such fees did not exceed an amount that was determined to be reasonable.”

Winthrop, 558 N.E.2d at 1141. Thus, said the court, “the contingent fee agreement, so long as the

fee provided therein was reasonable, controlled the situation here.” Id. at 1142.

       The court distinguished case law in which attorneys’ fees were based upon statutory fee-

shifting provisions rather than contractual fee-shifting provisions:

       We emphasize that we are concerned in this case with a provision in a contract
       where the parties agreed to shift payment of legal fees to the losing party. The
       decisions involving statutes that call for the shifting of payment of legal fees to the
       losing party are not applicable. In those decisions, the legislative policies
       involved in the enactment of the statutes are of major importance, and those
       policies are not present where parties voluntarily agree to shift the payment.

Id. at 1141 n.6 (emphasis added).

       Other jurisdictions agree that when the basis for fee shifting is contractual—not

statutory—the award ordinarily should reimburse the prevailing party for its actual fees,

including contingent fees. In Johnson Controls, Inc. v. Edman Controls, Inc., for example, the

court affirmed a one-third contingent-fee award under a contractual fee-shifting provision. See

712 F.3d 1021, 1027-28 (7th Cir. 2013). The court underscored “the distinction between

attorney’s fees shifted by statute and those shifted by contract,” which unlike statutory awards,

involve “the parties’ ex ante private ordering.” Id. at 1027. “There is less need to police the

reasonableness of fees shifted pursuant to a contract,” said the court, “because the parties to a

contract expressly consent to and define the terms of the fee shifting.” Id. It observed that “[i]f

the parties do not want to pay an opposing party’s contingent fee, they are free to write an



                                                 4
         Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 8 of 26




agreement under which the prevailing party will be obliged only to pay fees calculated in

accordance with the lodestar method.” Id.1

        As in all these cases, the basis for the fee award to PIC is a contractual provision,

paragraph 39 of the 2006 License Agreement. Paragraph 39 provides:

        Prevailing Party. If any legal action, arbitration, or other proceeding is brought for
        a breach of this Agreement or any of the warranties herein, the prevailing party
        shall be entitled to recover its reasonable attorneys’ fees and other costs incurred
        in bringing such action or proceeding, in addition to any other relief to which such
        party may be entitled.

J-002 at J-002.0014, ¶ 39. This provision is virtually identical to the contractual fee-shifting

provision in Winthrop, which the court said shifted the contingent fee that the prevailing party

owed its counsel (compare “the prevailing party shall be entitled to recover its reasonable

attorneys’ fees and other costs” here, with “the prevailing party therein shall be entitled to

recover its costs and reasonable attorney’s fees” in Winthrop). As a matter of Massachusetts

contract law, paragraph 39 should be given the same interpretation as the fee-shifting provision

in Winthrop. See 558 N.E.2d at 1141-42. That is, the actual contingent fee that PIC owes under

its contingent-fee agreement with McKool Smith should control the contractual award of fees

against OSI, so long as that amount is not unreasonable. See id.

        B.       PIC’s contingent-fee agreement obligates PIC to pay 30 percent of all
                 “Litigation Proceeds”—including any award of costs and fees—less certain
                 “Litigation Expenses.”

        PIC and its lead counsel in the arbitration, McKool Smith, executed a Retention

Agreement setting forth the contingent fee that PIC agreed to pay for the representation (the “Fee

1
  See also All-Ways Logistics, Inc. v. USA Truck, Inc., 583 F.3d 511, 520 (8th Cir. 2009) (affirming contractual fee
award based on one-third contingent-fee agreement governed by Arkansas law); Bernback v. Greco, 69 F. App’x 98,
105 (3d Cir. 2003) (affirming contractual fee award based on 40-percent contingent-fee agreement and explaining
that “[t]he District Court did not err in conforming the fee award to the fee agreement between Bernback and his
counsel”); 3H Enters., Inc. v. Murray, 994 F. Supp. 403, 405 (N.D.N.Y. 1998) (awarding contractual attorneys’ fees
approximating actual fee owed under one-third contingent-fee agreement governed by New York law, finding that
there was no evidence that the fee was grossly disproportionate to what the prevailing party would have agreed to
pay its counsel absent a fee-shifting provision).


                                                         5
        Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 9 of 26




Agreement”). See generally Declaration of Gary Cruciani ¶ 12 & Ex. A (“Cruciani Dec.”)

(submitted with this application).

       The following definitions and provisions are relevant to the calculation of attorneys’ fees

under the Fee Agreement: Contingent Fee, Net Litigation Proceeds, Litigation Proceeds, and

Litigation Expenses. See id., Ex. A § 1.01.

       The “Contingent Fee” is defined as “30% of Net Litigation Proceeds.” Id.

       “Net Litigation Proceeds” is defined as “Litigation Proceeds minus Litigation Expenses.”

Id.

       “Litigation Proceeds” is defined to include “the full fair market value of all cash and non-

cash consideration received or obtained by [PIC] or inuring to the benefit of [PIC]” from the

arbitration. Id. Litigation Proceeds expressly includes, among other things, “sums relating to

compensatory damages, exemplary or enhanced damages, attorneys’ fees, pre-judgment interest,

costs and post-judgment interest.” Id. The Fee Agreement later reiterates that “[a]ll Court

Awarded Fees and Costs recovered in any Litigation shall be treated as Litigation Proceeds and

shall be subject to the same 30-percent contingent fee.” See id. § 5.04.

       “Litigation Expenses” is defined by listing a number of specific costs and “all other

expenses reasonably incurred in the preparation for or prosecution of the Arbitration” except for

“software analysis or computing costs incurred directly by [PIC] in connection with [PIC’s]

efforts to identify acts of copyright infringement.” Id. § 1.01.

       As the Fee Agreement requires PIC to pay Litigation Expenses up front, it entitles PIC to

reimbursement of such expenses from any Litigation Proceeds before the contingent-fee

percentage is applied and McKool Smith’s fee calculated. See id. §§ 1.01, 5.02(a).

       At a high level, and ignoring for a moment the important nuances of the Fee Agreement,

PIC agreed to pay McKool Smith a 30-percent contingent fee. If one were simply to apply a 30-

                                                  6
          Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 10 of 26




percent contingent fee to the actual damages award of $9,591,049.99, that would equal

$2,877,315.2

          This simple calculation, however, ignores important aspects of the contingent fee agreed

upon by PIC and McKool Smith. First, the Fee Agreement applies the contingent-fee percentage

not only to actual damages, but to all proceeds from the arbitration (including any award of

attorneys’ fees and costs). See Cruciani Dec., Ex. A § 1.01 (definition of “Litigation Proceeds”),

§ 5.04. Second, the Fee Agreement provides that PIC is entitled to any unreimbursed expenses

“off the top” and before McKool Smith receives any proceeds. See id. § 1.01 (definition of

Contingent Fee and Net Litigation Proceeds) and § 5.02(a)(i). In sum, the Fee Agreement applies

the contingent-fee percentage not to Litigation Proceeds, but rather to “Net Litigation Proceeds,”

which accounts for the above two factors.

          As a result, the proper contingent-fee calculation under the Fee Agreement must account

for, at a minimum, any award of costs in the arbitration, along with Litigation Expenses as

defined by the Fee Agreement. One could write the formula: ((A + B) – C) * 30% = F, where A

represents actual damages, B represents costs awarded in the arbitration, C represents Litigation

Expenses, and F represents the resulting fee to which McKool Smith is entitled. Of these three

variables that go into the calculation of the fee award (F), two are known: actual damages (A)

which equals $9,591,049.99 and Litigation Expenses (C) which equals $1,824,443.92. See

Fleeger Dec. ¶ 11. But the amount of costs that the arbitrator will award PIC (B) is unknown,

although the amount of costs that PIC seeks to recover is known and is $2,108,316.46. Id. ¶ 4,

see infra, Part II.




2
    $9,591,049.99 * 30% = $2,877,315.00.


                                                 7
           Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 11 of 26




           Thus, assuming that PIC is awarded full reimbursement of the actual costs it incurred in

the arbitration (as requested below, see infra, Part II), this formula would produce a fee to

counsel for prevailing on the contract claim in the amount of $2,962,476.76.3

           Yet, the above fee calculation still ignores that the Fee Agreement expressly includes any

award of attorneys’ fees in the amount to which the contingent-fee percentage is applied. Thus,

to calculate the actual fee mandated by the Fee Agreement, the formula requires a further

adjustment to include attorneys’ fees on both sides of the equation, resulting in the following:

((A + B + F) – C) * 30% = F. In other words, attorneys’ fees (F) now appear on both sides of

the equation because, while the ultimate purpose of the exercise is to calculate a reasonable

attorneys’ fee, the fees are both an input into the formula as well as the output of the formula.

Solving algebraically for (F) (so that it appears alone, and on only the right side of the formula)

results in the following: (A + B – C) / 2.333 = F.4 Assuming once again that PIC is awarded full

reimbursement of the actual costs it incurred in the arbitration, this formula would produce a fee

to counsel for prevailing on the contract claim in the amount of $4,232,714.33.5 As the fee

produced by this formula represents the fee that PIC will actually have to pay its counsel—and is




3
  ($9,591,049.99 + $2,108,316.46 – $1,824,443.92) * 30% = $2,962,476.76. Although Litigation Expenses is a
constant ($1,824,443.92), attorneys’ fees (F) would correspondingly decrease with any decrease in costs awarded in
the arbitration. To make any adjustment for actual costs awarded, one would merely substitute that number for
$2,108,316.46 in the above formula.
4
    The specific steps in solving for (F) are as follows:
      • Divide each side of the formula by 30%, resulting in: A + B + F – C = F ÷ 30%
      • F ÷ 30% can be rewritten as F * 3.333, resulting in: A + B + F – C = F * 3.333
      • Subtract F from each side of the formula, resulting in: A + B – C = F * 2.333
      • Divide both sides of the formula by 2.333 to isolate F, resulting in: (A + B – C) / 2.333 = F
5
 ($9,591,049.99 + $2,108,316.46 – $1,824,443.92) / 2.333 = $4,232,714.33. As previously noted, If PIC were
awarded an amount less than its actual costs of $1,876,615.18, then the formula is easily adjusted by substituting the
actual costs awarded for $2,108,316.46 in the formula.


                                                           8
        Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 12 of 26




reasonable for the reasons explained below—it is the amount that PIC seeks to have reimbursed

by OSI consistent with Massachusetts law.6

         C.       The contingent fee that PIC agreed to pay is reasonable, and so should be
                  shifted in full to OSI under the 2006 License Agreement.

         The amount of fees produced by a strict application of the Fee Agreement is entirely

reasonable under the circumstances. As set forth above, in contractual fee-shifting cases, the

actual contingent fee that a prevailing plaintiff owes its counsel ordinarily controls a contractual

fee award against the defendant. See Northern Heel, 851 F.2d at 475-76; Winthrop, 558 N.E.2d

at 1141. The reasonableness of a contractual fee award warrants less judicial scrutiny than the

reasonableness of a statutory fee award, as a contractual fee award does not implicate the policies

underlying the statute. See Winthrop, 558 N.E.2d at 1141 n.6; see also Johnson Controls, 712

F.3d at 1027 (explaining that “[t]here is less need to police the reasonableness of fees shifted

pursuant to a contract”); Quint v. A.E. Staley Mfg. Co., 84 F. App’x 101, 102 (1st Cir. 2003)

(observing that “unlike statutory fees, which normally are delimited to ‘reasonable’

compensation, fee awards predicated upon fee agreements privately negotiated between attorney

and client are reviewed more deferentially” and reduced “only in those ‘exceptional

circumstances’ where the fee assessed by counsel is ‘unethically excessive’”). The admonition to

evaluate fee awards using “strictly conservative principles” is inapplicable in the context of

contractual fee shifting. See Northern Heel, 851 F.2d at 476.

6
  The only other potential complication with the fee calculation under the Fee Agreement is that the Award
authorizes OSI to file an application for a discretionary award of fees under 17 U.S.C. § 505 because OSI prevailed
on PIC’s copyright claims. See Award at 87. Unlike PIC’s mandatory entitlement to fees as the prevailing party
under the contract, whether OSI may recover for prevailing on PIC’s copyright claim is discretionary. As PIC
intends to show in its reply to OSI’s fee application, under the “objective-reasonableness” approach adopted by the
United States Supreme Court, PIC’s copyright claims were objectively reasonable and OSI should not recover any
attorneys’ fees. See Kirtsaeng v. John Wiley & Sons, Inc., 136 S. Ct. 1979, 1986 (2016). Although any such award
would, as a practical matter, reduce the amount that PIC ultimately collects in the arbitration, it would not impact the
fee calculation because it would constitute a “Client Lawsuit Obligation.” See Cruciani Dec., Ex. A § 5.02(b). As
such, any award of attorneys’ fees to OSI would be solely the responsibility of PIC under the Fee Agreement and
would not reduce Litigation Proceeds so as to impact the calculation of attorneys’ fees owed by PIC to McKool
Smith. Id.


                                                           9
       Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 13 of 26




       Here, the question is whether PIC’s 30-percent contingent fee is reasonable. There can be

no dispute that a 30-percent contingent fee is reasonable. The fee that PIC and McKool Smith

agreed upon in this matter is at the low end of the price range usually charged by plaintiffs’

lawyers in complex commercial cases like this one. The 30-percent contingent fee not only is at

the low end contingent fees usually charged by McKool Smith, but also is at the low end of

contingent fees demanded by commercial litigators across the country for comparable matters,

who commonly collect up to 40 percent of any recovery. See Cruciani Dec. ¶¶ 13-14. Numerous

courts across the country have recognized that contingent fees usually range from 30 to 40

percent of any recovery in complex commercial matters. See, e.g., Cook v. Rockwell Int’l Corp.,

No. 90-CV-00181-JLK, 2017 WL 5076498, at *2 & n.2 (D. Colo. Apr. 28, 2017) (“Fees in the

range of 30–40% of any amount recovered are common in complex and other cases taken on a

contingent fee basis.” (internal quotation marks omitted) (collecting cases)); In re Remeron

Direct Purchaser Antitrust Litig., No. CIV.03-0085 FSH, 2005 WL 3008808, at *16 (D.N.J.

Nov. 9, 2005) (same); Schwartz v. TXU Corp., No. 3:02-CV-2243-K, 2005 WL 3148350, at *31

(N.D. Tex. Nov. 8, 2005) (“In local, regional and national markets, complex commercial cases

require a contingent fee between 30 and 40 percent of the gross recovery.”).

       It is no surprise, then, that Massachusetts courts have approved similar contingent fees as

the basis for contractual fee shifting. In Winthrop, for example, the court ordered that an arbitral

award of attorneys’ fees be recalculated to reflect the prevailing plaintiff’s one-third contingent-

fee agreement with its counsel. See 558 N.E.2d at 1142-43. Similarly, in Northern Heel, the

court affirmed an award in the amount requested by the plaintiff based on an “elaborate lodestar-

cum-multiplier” methodology, but held that an even greater award based on the plaintiff’s 25-

percent contingent-fee agreement would have been reasonable—even though the fee agreement

yielded more than three times the amount of counsel’s base lodestar figure. See 851 F.2d at 476.

                                                10
          Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 14 of 26




           The contingent fee that PIC owes under the Fee Agreement is not rendered less

reasonable—or out of line with the fees usually charged—because it includes the fee award in

the amount to which the contingent percentage is applied. Rather, this is a common feature of

contingent-fee agreements in complex commercial cases. See Cruciani Dec. ¶ 12. In fact, it is not

uncommon for McKool Smith to enter into contingent fee agreements in which the law firm and

client split the amount of the damages award, but any fees that are awarded pursuant to a

contractual or statutory fee-shifting provision are allocated entirely to McKool Smith. Id. Had

PIC and McKool Smith entered into such an agreement, they would have split the actual

damages on a 70/30 basis, and McKool Smith would have received 100 percent of the attorneys’

fees that were awarded. Instead, under the Fee Agreement actually entered into, the attorneys’

fees that are awarded will also be split on a 70/30 basis.

           Including the fee award as part of the recovery to which the contingent-fee applies is also

a feature that the Massachusetts Supreme Court has expressly approved when, as here, the

agreement spells it out unambiguously. See Cambridge Tr. Co. v. Hanify & King Prof’l Corp.,

721 N.E.2d 1, 6 (Mass. 1999). In any event, even when the amount produced by the Fee

Agreement is compared to all other anticipated recoveries by PIC (i.e., damages and requested

costs, but not the requested fee award itself), it constitutes only 36.2 percent of the recovery.7

This is still well within the 30- to 40-percent range usually charged in cases like this one.

           D.      The reasonableness of the contingent fee is confirmed by comparing the
                   factors courts use in hourly-fee cases.

           In contingent-fee agreements, it is the agreement itself that is the focus in determining the

reasonableness of the fee. See Northern Heel, 851 F.2d at 475 (“Where the contract for

employment of counsel provides a clear and workable formula for determining the amount of


7
    $4,232,714.33 / ($9,591,049.99 + $2,108,316.46) = 36.2%.


                                                        11
       Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 15 of 26




fees, the terms of the agreement will usually control,” and “the contingent fee should be enforced

unless it is unreasonable under the circumstances.”); Winthrop, 558 N.E.2d 1138 at 1142 (“[T]he

contingent fee agreement, so long as the fee provided therein was reasonable, controlled the

situation here.”).

        In cases that do not involve contingent-fee agreements, courts evaluate the

reasonableness of a contractual fee award by, “consider[ing], inter alia, the ability and reputation

of the attorney, the time spent, the prices usually charged, the amount of money or property

affected by the controversy[,] and the results obtained.” See RFF Family P’Ship, LP v. Link

Dev., LLC, 962 F. Supp. 2d 340, 343 (D. Mass. 2013) (citing Cummuns v. Nat’l Shawmut Bank,

188 N.E. 489, 492 (Mass. 1934)). These specific factors arguably do not even apply to

contingent-fee agreements or, at a minimum, are entitled to far less weight than the contingent-

fee agreement itself. See Winthrop, 558 N.E.2d 1138 at 1142-43 (court concluded that the

“contingent fee agreement controls” and awarded fee equal to one-third of the actual damages

without any discussion of the Cummings factors); Northern Heel, 851 F.2d at 477 (following

extensive discussion of the contingent-fee agreement itself, court concluded that fee was also

reasonable under a summary one-paragraph discussion of the Cummings factors). Nonetheless,

the factors provide an instructive “reasonableness” check on PIC’s requested fee award and

confirm that an award based upon the actual contingent fee under the Fee Agreement is

reasonable.

        Counsel’s ability and reputation. The ability and reputation of PIC’s arbitration counsel

easily justify a fee in the amount that PIC requests. Because of the complexity of this matter and

the amount at stake, PIC retained McKool Smith, a nationally prominent law firm specializing in

representing parties in complex and contentious matters like this one. See Cruciani Dec. ¶ 5. The

McKool Smith team responsible for the representation has extensive relevant experience and was

                                                12
         Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 16 of 26




eminently qualified to handle the matter. See id. ¶¶ 6-11. The numerous awards and recognitions

bestowed upon PIC’s counsel by the industry’s most prominent publications constitute a strong

endorsement of the firm’s and lawyers’ national reputations in complex commercial litigation.

See id. ¶¶ 5, 7. Courts have considered counsel’s “national reputation” in the relevant field as a

factor favoring a contractual award in the amount that the lawyers actually charged for the

representation. See Dunkin’ Donuts Inc. v. Guang Chyi Liu, No. CIV.A. 99-3344, 2002 WL

31375509, at *3 (E.D. Penn. Oct. 17, 2002) (applying Massachusetts law). Further, PIC would

submit that the arbitrator is best positioned to weigh the ability of PIC’s counsel as a result of

having presided over a twelve-day evidentiary hearing (plus a number of telephonic motions)

and having reviewed numerous written submissions.

         Time spent. PIC’s counsel devoted an enormous amount of resources to this matter. See

Cruciani Dec. ¶ 15 and Ex. B. In particular, McKool Smith spent 7,331 hours on this matter

through December 1, 2017. Id. Applying McKool Smith’s standard hourly rates to these hours

produces a “lodestar” figure of $4,317,399—almost $85,000 more than PIC requests as

reimbursement of its actual contingent fee.8 In fact, the $4,317,399 lodestar reflects more than

$287,000 in deductions, such that the actual, unadjusted lodestar would have been $4,604,445.

Id. ¶ 16. This fact makes the resulting fee request of $4,232,714.33 that much more conservative

and reasonable. While certain courts have found a lodestar approach “advantageous,” under

Massachusetts law, a court “need not follow the ‘lodestar’ method of calculation” for contractual

fee-shifting cases. Gaulin v. Commissioner of Public Welfare, 505 N.E.2d 898, 900 n.7 (Mass.

App. Ct. 1987). Rather, “[m]ost cases in which the court has endorsed the lodestar method have



8
  PIC’s other counsel, Lando & Anastasi, contributed an additional 181.2 hours having a lodestar value of $77,680,
mostly during the early stages of the matter. See Declaration of Craig Smith ¶¶ 6-7 (“Smith Dec.”) (submitted with
this application). In an effort to be conservative, PIC does not seek the additional fees that it, in fact, paid to Lando
& Anastasi in connection with this arbitration.


                                                           13
       Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 17 of 26




involved the vindication of rights under statutory law.” See, e.g., WHTR Real Estate, 825 N.E.2d

105, 111 (Mass. App. Ct. 2005).

       Almost all this time was spent developing the common core of facts and theories that

formed the basis of both PIC’s contract claims and its copyright claims. See Cruciani Dec. ¶¶ 24-

25. Common to both claims was, among other things, (1) documenting the uses made by OSI or

its customers of PIC images without the notice or attribution; and (2) establishing that it was

“reasonably possible and practical” for OSI or its customers to have applied the notice or

attribution to the PIC images. These evidentiary undertakings were extensive and were a direct

result of the vast use of PIC’s images without notice or attribution. See Award at 31 (discussing

the “comprehensive” infringement report that “documented at least 19,000 separate PIC Images

on the internet without copyright notice or attribution”).

       As discussed, PIC bases its fee application primarily upon the terms of its contingent-fee

agreement with McKool Smith and is not requesting a fee based upon a lodestar approach. See

Cruciani Dec. ¶ 17. But if PIC’s attorneys’ fee application were based upon an hourly, lodestar

analysis (it’s not), then PIC arguably would have to allocate or segregate time spent in its

successful prosecution and defense of the parties’ contract claims from the discrete time spent on

issues that PIC did not prevail on. See Cruciani Dec. ¶¶ 25-26. Given the interrelated nature of

the claims, however, PIC’s counsel estimates that a maximum of 10 percent of counsel’s time

was spent on issues having no bearing on the contract claims. Id. ¶ 26. A 10-percent reduction

from McKool Smith’s $4,317,399.50 lodestar figure would be $3,885,659.55. Klairmont v.

Gainsboro Rest., Inc., 987 N.E.2d 1247, 1263 n.25 (Mass. 2013) (observing that it is not

necessary to apportion attorneys’ fees where multiple claims arose from “a single chain of

events” or “common nucleus of operative facts” (internal quotation marks omitted)).




                                                 14
       Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 18 of 26




       These lodestar figures represent the actual market value of McKool Smith’s services in

an hourly representation that is otherwise comparable to this matter. First, the amount of time

that McKool Smith spent was reasonable and customary for a matter of this magnitude,

particularly given the unique challenges associated with investigating vast and widespread use of

PIC’s copyrighted images on the internet. See Cruciani Dec. ¶ 18. Second, McKool Smith’s

standard hourly rates reflect the national legal market’s valuation of the firm’s services—and the

rates its clients routinely pay in actual hourly-fee representations—and so likewise are

reasonable for a complex matter like this one. See id. ¶¶ 19-20. Notably, this dispute is in every

sense “national,” as it involves parties from all over the country and large, national (or global)

law firms representing both sides. See id. ¶¶ 20-22. Therefore, the prevailing national rates for

complex litigation would supply the appropriate yardstick for evaluating hourly rates in this case,

regardless of where the arbitration were held. See id.

       Of course, this was not an hourly representation. Because McKool Smith accepted this

hotly contested matter on a contingent-fee basis, it forwent an opportunity to collect its standard

hourly rates and accepted a material risk of nonpayment or payment at less than its standard

hourly rates. Because of this risk, a reasonable fee to McKool Smith in this case could

substantially exceed its lodestar of $3,885,659.55. See In re Volkswagen & Audi Warranty

Extension Litig., 89 F. Supp. 3d 155, 165 (D. Mass. 2015) (observing that even where

Massachusetts law requires a lodestar-based fee, it is appropriate to enhance the lodestar to

appropriately reflect “the risks counsel took in pursuing contingent fees”).

       Amount of money or property affected by the controversy and results obtained. The

amount in controversy as well as the intellectual-property rights at issue in this arbitration were

substantial. OSI, not PIC, initiated this arbitration and at the hearing demanded $4,457,241.08 in

combined actual damages and unjust enrichment for its claims against PIC under the 2006

                                                15
       Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 19 of 26




License Agreement (and on various alternative theories). Tr. 3952, 3954 (Drews). OSI asserted

six different claims against PIC, all stemming from PIC’s suing OSI’s customers and pursuing

copyright claims that were allegedly without merit. Award at 86. The arbitrator dismissed each

of these six claims asserted by OSI against PIC and found that PIC’s claims against OSI’s

customers were not frivolous or in bad faith, but rather found that “it was Sylvania’s breach of

contract that created the claims” in the first instance.” Id. at 86-87. The arbitrator found PIC was

the “prevailing party” on OSI’s claims that PIC breached the implied covenant of good faith and

fair dealing and for a declaratory judgment regarding the parties’ rights under the 2006 License

Agreement, thereby entitling PIC to a mandatory award of fees. Id. at 85.

       Further, OSI took the position that, pursuant to the 2006 License Agreement, the

attribution rights that were at the heart of this dispute (1) imposed an affirmative obligation upon

PIC to supply images with the copyright notice; (2) only applied to images used by OSI and did

not require OSI’s customers to use PIC’s attribution; and (3) even if the attribution requirements

otherwise applied to OSI and its customers, it was not “reasonably possible and practical” for the

attribution to be used on PIC images appearing on the Internet. In each case, the arbitrator

rejected OSI’s position, finding (1) “there was absolutely no obligation under the Agreement for

PIC to provide the copyright notice/attribution on the PIC Images it submitted to Sylvania”; (2)

“the contractual obligations of Sylvania under 10.b [the attribution provision] extended to the

Use of PIC Images by Trade Service, IDEA, and the Respondent Distributors,” which

obligations OSI “blithely ignored when it came to internet Use of the Images by its customers”;

and (3) “PIC has met its burden of showing that it was reasonably possible and practical for

PIC’s copyright notice to be included on all PIC Images that are the subject of this action,

whether the Images were used in print publications or on the Internet.” See id. at 15, 16, 33, 44.




                                                16
       Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 20 of 26




        Finally, the fee award requested by PIC is reasonable in light of the results obtained in

the matter. PIC secured a ruling imposing liability on OSI for unlawfully using—and permitting

others to use—PIC’s copyrighted images without a proper copyright notice or attribution. As a

result of this ruling, PIC is entitled to recover $8,752,950.22 on the attribution issue, an amount

that, in the words of the award, constitutes “meaningful damages.” See id. at 10.

        In addition to relief related to unlawful use of PIC’s copyright images, PIC was also

awarded $838,099.77 for unpaid rush charges (plus interest), bringing total compensatory

damages to $9,591,049.99. This nearly-eight-figure sum constitutes a substantial recovery by any

measure. And it strongly reinforces the reasonableness of the fee award that PIC seeks. Indeed,

because PIC seeks reimbursement of the actual contingent fee that it will owe its counsel—itself

a function of the monetary recovery to PIC—the fee is essentially reasonable by definition in

light of the results obtained.

II.     PIC IS ENTITLED TO AN AWARD OF $2,108,316.46 IN COSTS INCURRED IN
        THE ARBITRATION.

        The Award also provides that under paragraph 39 of the 2006 License Agreement, PIC is

entitled to a mandatory award of costs incurred in prosecuting its contract claims and defending

against OSI’s contract claims. See Award at 85. Thus, the only question is what amount of costs

OSI should be ordered to bear.

        When costs are shifted in accordance with a contract—as opposed to a statute—

Massachusetts courts calculate costs in the same way as they calculate a contractual award of

attorneys’ fees. See, e.g., WHTR Real Estate, 825 N.E.2d at 111-12; Winthrop, 558 N.E.2d at

1139 & n.1, 1141. That is, PIC should be reimbursed for the costs it actually incurred, so long as

those costs are not unreasonable. See id. Critically, when a contractual provision supplies the

basis for shifting of costs, the award of costs is not limited to costs that would be “taxable” under

Fed. R. Civ. P. 54(d), but includes all costs reasonably incurred in the case. See Best Buy, 2011
                                                 17
       Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 21 of 26




WL 1321391, at *10-11. In Best Buy, the court considered an application for costs in accordance

with the cost-shifting provisions of several lease agreements, some of which were governed by

Massachusetts law. See id. at *1-2. The court rejected the defendants’ argument that an award of

costs should be limited to taxable costs under Rule 54(d) and 28 U.S.C. § 1920. Id. at *10-11.

The court explained that it was “necessary to distinguish between costs awarded under Rule

54(d) and those available pursuant to a contract.” Id. at *10. Contractual cost-shifting provisions,

said the court, would be “superfluous” if they shifted only costs already available under Rule 54,

and so parties would not include such provisions “unless they intended to recover costs beyond

those allowed under § 1920.” Id. at *11 (citing Weitz Co. v. MH Washington, 631 F.3d 510, 535-

36 (8th Cir. 2011)).

       Here, PIC is entitled to an award of costs in the amount of $2,108,316.46. These costs

may be summarized as follows:

       Amount                           Description                     Evidentiary Support
$1,734,836.73             Costs paid directly by PIC, or by         Fleeger Dec. ¶¶ 4-9 & Exs. A-
                          Copyright Strategies (on PIC’s            G
                          behalf), including fees for skilled
                          consultant and expert witnesses
$197,001.97               Costs advanced by McKool Smith and        Cruciani Dec. ¶¶ 29-31 & Exs.
                          billed to PIC, and for which PIC seeks    C, D, and E; Fleeger Dec. ¶ 4
                          reimbursement (representing
                          $215,792.28 in costs actually billed to
                          PIC by McKool Smith, less certain
                          discretionary omissions from amount
                          sought to be awarded)
$10,077.76                Costs advanced by Lando & Anastasi        Fleeger Dec. ¶ 4; Smith Dec.
                          and billed to PIC, and for which PIC      ¶¶ 5, 10-11 & Ex. A
                          seeks reimbursement
$166,400.00               Administrative fees of the AAA and        Fleeger Dec. ¶ 10 & Ex. H
                          arbitrator fees borne by PIC

       In this large, complex matter, costs of this magnitude were reasonable for largely the

same reasons as PIC’s actual contingent fee is reasonable. See id. ¶¶ 32-34. In particular, PIC’s

expenditures on expert witnesses and its consultant, Len Bucchino, were reasonable and

                                                18
       Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 22 of 26




necessary to the prosecution of PIC’s claims. See id. ¶¶ 33-34. The utility of these witnesses’

work is on display throughout the award.

       Professor Sedlik’s testimony is cited approvingly on numerous occasions throughout the

award on a variety of issues. See Award at 17, 22, 37, 41, 46, 72, 73, 75.

       Dr. Sullivan’s fair-market-value analysis is credited as “instructive” on the proper

measure of contract damages. Id. at 74. Further, while the arbitrator employed a different

damages methodology, he noted that his damages number of $8,752,950.22 for OSI’s breach of

the attribution provision was “within the range of Dr. Sullivan’s figure for breach of contract

damages for Sylvania alone.” Id. at 75. The arbitrator also denied OSI’s motion to strike Dr.

Sullivan’s report and testimony. Id. at 83-84.

       The award discussed Mr. Bucchino’s infringement report at great length, and the report is

credited as comprehensively “document[ing] at least 19,000 separate PIC Images on the Internet

without copyright notice or attribution.” Id. at 31. The infringement report was central to

documenting the scope of the attribution breaches by OSI and its customers:

               I have included the details of the infringement report and the work of Mr.
       Bucchino because they so well document the breadth of the internet Use for the
       PIC Images by Sylvania and its customers without the copyright
       notices/attributions called for in Para 10.b of the Agreement. Sylvania’s conduct
       in not controlling the spread and Use of the Images without attribution was a
       breach of the Agreement.

              I find that Bucchino was eminently qualified to design the software that he
       employed in the investigation and analysis that resulted in the Infringement
       Report, as well as the Side-by-Side PDF Report.

               I find that Bucchino’s testimony with regard to the process that resulted in
       his reports, including the Infringement Report and the Side-by-Side Report, was
       forthright and credible. I find that Bucchino employed a painstaking and rigorous
       process to document the vast uses of PIC Images that are in issue in this
       arbitration….

               Based on the foregoing, and in light of the record as a whole, I find that
       the Infringement Report accurately and reliably documents thousands of instances
       in which the PIC Images were used without notice and/or attribution and also
                                                 19
          Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 23 of 26




          accurately and reliably documents the additional information included in the
          report, including information related to the nature and location of the use and the
          entity that engaged in the use. In other words, I find that Sylvania permitted the
          Third Party Respondents and the Nonparty customers to use the PIC Images
          without the notice and/or attribution in violation of 10.b as reported in the
          Infringement Report.

Id. at 31-32.

          The arbitrator also denied the motion to strike Mr. Bucchino’s infringement report and

instead expressly found him “to be candid, responsive, knowledgeable, and credible.” Id. at 79.

Moreover, because OSI made an issue of Mr. Bucchino’s compensation at the hearing, the award

specifically observes that his charges were reasonable in light of the skilled services he provided.

See id. ¶ 27.

          In addition, OSI created a “forensic sideshow” in this case that necessitated each side’s

hiring forensic experts and resulted in numerous telephonic hearings and substantial testimony at

the hearing. For PIC, Charles Adams and Professor Sedlik testified to certain forensic issues.

Based in part on that testimony, the arbitrator expressly stated, “I find that PIC generally did

preserve its evidence” and that no evidence was lost or destroyed. Id. at 67. The award further

recites that OSI’s forensic expert, Gary Pate, was unable to identify any changes to any files,

“just Pate’s suspicion.” Id. at 68.

          While the arbitrator declined to sanction either side for failure to preserve evidence, he

stated:

          I think PIC’s request has more merit. For one thing, Sylvania was slow and less
          than complete in instituting litigation holds; it was unable to account for or
          produce many of the CDs PIC had sent containing its Final Images; Sylvania did
          not preserve its FTP server; Mitchell’s laptop was destroyed; and other materials
          might have been saved and produced had litigation holds gone into effect with
          more people than they did.

Id.




                                                  20
       Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 24 of 26




       Moreover, the costs incurred by PIC, including virtually all the expert and consultant

fees, relate to the common core of facts and theories underlying all the claims. See Cruciani Dec.

¶¶ 35-38. So few costs would have been avoided had the contract claims been the only claims in

the case. See id. Therefore, the costs need not be segregated or apportioned among claims. See

Klairmont, 987 N.E.2d at 1263 n.25. PIC is entitled under paragraph 39 of the 2006 License

Agreement to full reimbursement of its actual costs incurred in this matter in the amount of

$2,108,316.46.

                                        CONCLUSION

       PIC respectfully requests that the arbitrator render a final award in favor of PIC and

against OSI for—

           1. $4,232,714.33 in attorneys’ fees;

           2. $2,108,316.46 in costs; and

           3. Any further or additional relief to which PIC may be justly entitled.




                                               21
   Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 25 of 26




Dated: December 13, 2017         Respectfully submitted,

                                 /s/ Gary Cruciani
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                                  22
    Case 1:17-cv-12425-PBS Document 34-6 Filed 03/07/18 Page 26 of 26




                              CERTIFICATE OF SERVICE

       I certify that on December 13, 2017, I served this document by transmitting the same

by electronic mail to all counsel of record for the Claimant/Counter-Respondent and the

Third-Party Respondents.

                                        /s/ Gary Cruciani
                                        Gary Cruciani




                                           23
